                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 GEORGE BOURNAZIAN, Derivatively
 and on Behalf of CEMPRA, INC.,

               Plaintiff,

               v.                              Case No. 1:17-cv-00828

 PRABHAVATHI FERNANDES, MARK
 HAHN, DAVID W. OLDACH, P.                     SUGGESTION OF BANKRUPTCY
 SHERRILL NEFF, RICHARD KENT,                  FOR NOMINAL DEFENDANT
 DOV GOLDSTEIN, GARHENG KONG,                  CEMPRA, INC.
 JOHN H. JOHNSON, DAVID GILL,
 MICHAEL R. DOUGHERTY, AND
 DAVID ZACCARDELLI,

               Defendants,

               and

 CEMPRA, INC.,

               Nominal Defendant.


              PLEASE TAKE NOTICE that on December 27, 2019 Nominal Defendant

Melinta Therapeutics, Inc. (“Melinta,” the surviving corporation of a merger between

Melinta and Cempra, Inc. (“Cempra”)) (the “Debtor”), filed a voluntary petition in the

United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) for

relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq., as

amended (the “Bankruptcy Code”). The Debtor continues to operate their business and

manage their properties as debtor and debtor-in-possession pursuant to Bankruptcy Code


                                            -1-


       Case 1:17-cv-00828-UA-JEP Document 11 Filed 12/27/19 Page 1 of 3
sections 1107(a) and 1108. A copy of the voluntary petition is attached hereto as Exhibit

“A”.

               PLEASE TAKE FURTHER NOTICE that as a result of the bankruptcy

filing, any further action against the Debtor is stayed under Bankruptcy Code section

362(a).

               PLEASE TAKE FURTHER NOTICE that any action taken against the

Debtor or their property without first obtaining relief from the automatic stay from the

Bankruptcy Court may be subject to findings of contempt and the assessment by the

Bankruptcy Court of penalties, fines, and/or sanctions, as may be appropriate.



Dated: December 27, 2019                          Respectfully submitted,

                                                  WYRICK ROBBINS
                                                  YATES & PONTON LLP

                                                  By: /s/ Samuel A. Slater
                                                  Lee Whitman (NC Bar No. 20193)
                                                  lwhitman@wyrick.com
                                                  Samuel A. Slater (NC Bar No. 43212)
                                                  sslater@wyrick.com
                                                  4101 Lake Boone Trail, Suite 300
                                                  Raleigh, NC 27607
                                                  Tel: (919) 781-4000
                                                  Fax: (919) 781-4865

                                                  Counsel for Nominal Defendant
                                                  Cempra, Inc.




                                            -2-


          Case 1:17-cv-00828-UA-JEP Document 11 Filed 12/27/19 Page 2 of 3
                            CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on this day a copy of the foregoing
document was filed with the Court's CM/ECF system which will send notification of such
filing to all counsel of record.

This the 27th day of December, 2019.

                                                /s/ Samuel Slater
                                                Samuel Slater




                                          -3-


       Case 1:17-cv-00828-UA-JEP Document 11 Filed 12/27/19 Page 3 of 3
